Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 1 of 19 PageID #: 1490




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

    IN RE:                                        ) Misc. No. 21–mc–0141–CFC
                                                  )
    BESTWALL, LLC,                                ) Underlying Case: 17-BK-31795
                                                  ) (U.S. Bankr. W.D.N.C.)
                        Debtor.                   )

      JOINDER & MOTION TO QUASH OR MODIFY SUBPOENAS, OR
            ALTERNATIVELY FOR PROTECTIVE ORDER

        The subpoenas at the center of this miscellaneous action target a wealth of

personal identifying information—names, birthdays, Social Security numbers,

etc.—belonging to thousands of asbestos victims who have long-since settled their

claims against subpoenaing party Bestwall, LLC (“Bestwall”). Bestwall admits it

settled the vast majority of those old lawsuits through group settlements in which it

never sought the subpoenaed evidence it now claims to need.

        Rule 45 requires quashing subpoenas that either target “protected” matters or

subject a person to an “undue burden.” FED. R. CIV. P. 45(d)(3)(A)(iii)–(iv). Now

come over 10,000 mesothelioma victims whose highly personal information is

sought (collectively, “Matching Claimants”), as nonparties, by and through the

undersigned counsel 1, to move this Court under Rule 45 to enter an order quashing

(or modifying) the subpoenas served on ten asbestos bankruptcy trusts (“the




1A list of the law firms acting as counsel to the Matching Claimants in this proceeding are attached
as Ex. A.
                                                 1
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 2 of 19 PageID #: 1491




Trusts”) 2 and their Delaware-based administrator (the “Delaware Claims Processing

Facility,” or “DCPF”). In support, Matching Claimants 3 assert:

                                          A. BACKGROUND

       For four decades, asbestos victims sued Bestwall’s predecessor Georgia-

Pacific in tort for harm wreaked by its asbestos-containing construction products.

Georgia-Pacific settled the vast majority of those asbestos cases via group

settlements (or “administrative deals”) in which it never participated in discovery

and never solicited evidence regarding asbestos exposure. See § A.2, below.




2 The ten Trusts are:
    • The Armstrong World Industries, Inc. Asbestos Personal Injury Settlement Trust;
    • The Celotex Asbestos Settlement Trust;
    • The Flintkote Asbestos Trust;
    • The Pittsburgh Corning Corporation Personal Injury Settlement Trust;
    • The WRG Asbestos PI Trust;
    • The Federal-Mogul Asbestos Personal Injury Trust;
    • The Babcock & Wilcox Company Asbestos PI Trust;
    • The United States Gypsum Asbestos Personal Injury Settlement Trust; and
    • The Owens Corning / Fibreboard Asbestos Personal Injury Trust.
    • The DII Industries, LLC Asbestos PI Trust.
3
  Matching Claimants are defined as claimants in the Trusts’ databases whose injured party
datafields or related claimant datafields match (or may match) any (a) nine-digit SSN and (b) last
name associated with a Bestwall Claimant in Bestwall’s database and who did not file their Trust
claims pro se. In re Bestwall LLC, No. 17-31795, Bankr. W.D.N.C., D.I. 1237 (“Debtor’s Motion
for Bankr. R. 2004 Exam. of Asbestos Trusts”), at 1; id. at D.I. 1672 (“Order Granting Debtor’s
Motion for Bankruptcy Rule 2004 Examination of Asbestos Trusts and Governing Confidentiality
of Information Provided in Response”), at 5. The Bankruptcy Court has forbidden the disclosure
of any claimant information, including name, on this docket. See id. at ¶ 8, ¶ 10(e) (“No claimant-
specific data from or derived from any Confidential Trust Data….shall be … placed on the public
record or … filed with this Court, the District Court, or any reviewing court (including under seal
…”)). So as not to clutter the record here, when an incontrovertible admission comes from the
bankruptcy docket (of which this Court may take judicial notice), the instant motion points to that
docket’s ECF entry.
                                                2
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 3 of 19 PageID #: 1492




       Dissatisfied with the American tort system—where one court found a

sufficient basis for inferring Georgia-Pacific’s litigation tactics may have

“further[ed] … a fraud,” In re New York City Asbestos Lit., 966 N.Y.S. 2d 420, 423

(N.Y. App. Div. 2013), and where its historical conduct exposed it to billions of

dollars in costs and liability 4—Georgia-Pacific found a new scheme.

       In July 2017, Georgia-Pacific moved to Texas for one day to split into two

companies: Georgia-Pacific, LLC (“New G-P”) and employee-free shell company

Bestwall. 5 Saddled with Georgia-Pacific’s asbestos liabilities, Bestwall immediately

moved to North Carolina to situate itself in a favorable bankruptcy district. It

declared bankruptcy on November 1, 2017.

       Now Bestwall, despite assurances it can pay 100% of its asbestos liability, is

using third-party bankruptcy discovery to re-litigate settled cases and minimize the

funds it may pay into a bankruptcy trust. Such trusts are meant to ensure that current

and future victims of asbestos-related illnesses receive “just and comparable

compensation” for their injuries when the business that injured them faces

“overwhelming liability.” In re Flintkote Co., 486 B.R. 99, 131, 132–33 (Bankr. D.

Del. 2012). By trying to create doubt (in one handpicked jurisdiction) as to the




4
  See In re Bestwall LLC, No. 17-31795, Bankr. W.D.N.C., D.I. 12 (Informational Brief of
Bestwall LLC), at 13.
5
  Bestwall was a joint compound manufacturer bought by Georgia-Pacific in the 1950s. The name
fell out of use until it was resurrected as part of Georgia-Pacific’s bankruptcy scheme.
                                             3
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 4 of 19 PageID #: 1493




viability of thousands of historical settlements, Bestwall hopes to define “just and

comparable” outside the jury system.

    1. Bestwall’s Legal Theory & the Highly Confidential Subpoenaed
       Information

       Bestwall has subpoenaed from ten Delaware Trusts the personal information

supporting thousands of Trust claims—for every “Matching Claimant” who also

settled a case against Georgia-Pacific—dating back decades. See D.I. 1-3. In

addition to asbestos exposure information, Bestwall seeks each Matching Claimant’s

full name, Social Security number, date of birth, date of death, state of residence,

and the full name and Social Security number of any family member claimant. 6(D.I.

1-3, at 11.) The personal identifying information is to be aggregated by Bestwall’s

estimation experts in a file called a “Matching Key,” purportedly to help navigate

Trust exposure information to compare with historical Georgia-Pacific case

information and settlements.

       According to Bestwall, the subpoenaed information will show that past

asbestos plaintiffs who also made Trust claims hid evidence, primarily of alternative

exposures, and therefore that Bestwall’s overall asbestos liability (and the size of the




6
 Attached as Ex. B are affidavits from counsel for some Matching Claimants who have expressed
concerns regarding the disclosure of private information to Bestwall.

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Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 5 of 19 PageID #: 1494




trust Bestwall may have to establish) should be smaller than past settlements

suggest. 7

       But in the majority of cases, despite the opportunity to cross-examine every

witness who testified about asbestos exposure, this is the first time Georgia-Pacific

or Bestwall has ever asked for information about alternative exposures.

    2. Bestwall’s Group Settlements & Historical Disinterest in Asbestos
       Exposure Information

       Bestwall freely admits that “some” historical Georgia-Pacific cases “settled

early to save the costs of defense,” including administrative deals or “group

settlements negotiated with plaintiff law firms for groups of clients.” In re Bestwall,

“Info. Br. of Bestwall LLC,” Bankr. W.D.N.C., D.I. 12, at 12 n.9. But “some” does

not do justice to the number of tort cases where Georgia-Pacific ignored evidence of

asbestos exposures attributable to other entities.

       According to Bestwall’s estimation expert, “approximately 70% of …

mesothelioma claims Bestwall paid to settle after 2010 were resolved” through

settlements “based on an agreed upon matrix or resolved groups of claims for

negotiated lump sums without examining individual claims.” (Ex. C, Dec. of Charles




7
  Bestwall intends to establish this at a bankruptcy “estimation hearing,” a procedure for
determining the appropriate methodology for estimating the debtor’s aggregate asbestos liability
with respect to current asbestos injury claims and unknown future claims. In re Eagle-Picher
Indus., Inc., 189 B.R. 681 (Bankr. S.D. Ohio 1995); In re Grossman’s Inc., 607 F.3d 114, 127 (3d
Cir. 2010).
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Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 6 of 19 PageID #: 1495




E. Bates, Ph.D., in Support of the Debtor’s Rule 2004 Motions ¶ 17 (emphasis

added).)

       As part of its group settlements, Georgia-Pacific required that it be named in

suits but never served, required to answer, or participate in discovery (or any other

proceeding). The entirety of Georgia-Pacific’s group settlement “exposure criteria”

comprised the place of exposure, identification of either a Georgia-Pacific asbestos-

containing product (or facility), and a plaintiff’s dates of exposure. In other words,

Bestwall now asserts that it needs alternate exposure evidence from every plaintiff

with whom Georgia-Pacific ever settled, but admits it never considered alternate

exposure evidence in the vast majority of its cases. 8

       The Delaware Trusts have moved to quash the subpoenas. (D.I. 1.) The instant

Movants—the “Matching Claimants” whose information is sought—hereby join the

Trusts’ motion and bring their own motion to quash (or modify) the subpoenas.

Because the subpoenas seek highly confidential information for which Bestwall has

not shown a particularized need, this Court must quash (or modify) the subpoenas,

or alternatively order Bestwall to identify the specific claimants whose subpoenaed

information may be relevant to its legal theories.




8
  Because Georgia-Pacific’s administrative deals / group settlements were confidential in nature,
the Matching Claimants cannot specify the number of cases Georgia-Pacific settled without any
consideration of alternate asbestos exposures. But Bestwall can.
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Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 7 of 19 PageID #: 1496




    3. The Bankruptcy Trusts

       Asbestos bankruptcy trusts, formed under 11 U.S.C. § 524(g), ensure that

current and future victims of asbestos-related illnesses receive “just and comparable

compensation” for their injuries when the business that injured them faces

“overwhelming liability.” In re Flintkote Co., 486 B.R. 99, 131, 132–33 (Bankr. D.

Del. 2012), quoting H.R. Rep. No. 103-835, Section 111, at 41. As a general matter,

the trust assumes the liability of an asbestos tortfeasor and must use its assets to pay

future claims and demands. See In re Grossman’s Inc., 607 F.3d 114, 126 n.12 (3d

Cir. 2010). 9

       To make a claim, an asbestos victim must submit a wide array of personal

information to a trust. For example, the Babcock and Wilcox Company Trust may

require (depending on the asbestos disease) “the submission of X-rays, CT scans,

detailed results of pulmonary function tests, laboratory tests, tissue samples, results



9
 Of course, Georgia-Pacific’s pre-524(g) liability dump has prompted disagreement in bankruptcy
court, where Bestwall has promised it can easily pay all of its present and future asbestos liabilities.
(See Ex. E, Bankr. W.D.N.C. No. 17-BK-31796, Hr’g Tr. Nov. 9, 2018 at 41:3–7, (Bestwall
attorney: “[T]he assets of New GP and the paying power of New GP [is] available to the asbestos
claimants just the same as it was before”); id. at 102:20–21 (“We have a company … that has …
a $22 billion net worth.”)) But see In re: National Rifle Ass’n, No. 21-30085 (Bankr. N.D. Tex.
5/11/2021), at 29 (attached as Ex. F) (“[A] bankruptcy case filed for the purpose of obtaining an
unfair litigation advantage is not filed in good faith.”); id. at 31 (dismissing the National Rifle
Association’s bad faith bankruptcy and noting that “based on the evidence, the NRA is financially
healthy”); In re SGL Carbon Corp., 200 F.3d 154, 163 (3d Cir. 1999) (reversing a district court’s
failure to dismiss a bad faith debtor’s bankruptcy because “the record [was] replete with evidence
of [the debtor’s] economic strength”). Whether the Bestwall bankruptcy scheme constitutes “bad
faith” is a matter beyond the ambit of this motion, but the Court should not ignore Bestwall’s
obvious motives when assessing its purported need for confidential information here.
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Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 8 of 19 PageID #: 1497




of medical examination or reviews of other medical evidence.” (Ex. D, Collected

Trust Distribution Procedures, at p. 9), See also In re Western Asbestos Co., 416

B.R. 670, 709 (N.D. Cal. 2009) (claimants possessed a legally protected privacy

interest in their claim information, which “in large part includes medical records,

financial details, and other information of a highly personal nature.”).

       A trust’s “distribution procedures” (“TDPs”) also require evidence of

meaningful and credible exposure to asbestos products made by each trust’s

predecessor-tortfeasor. (See Ex. D, at p. 10) Exposure evidence includes information

like a claimant’s occupation(s) and testimony and/or affidavits identifying relevant

asbestos-containing products. (Id. at p. 52.) All information submitted by claimants

to a trust is to be treated as made in the course of settlement discussions. (See D.I.

1-2 § 6.5; id. at p.53.)

                                  B. LEGAL STANDARDS

       A district court where subpoena compliance is required “must quash or

modify” a subpoena that [1] requires disclosure of privileged or other protected

matter, 10 or [2] subjects a person to undue burden. FED. R. CIV. P. 45(d)(3)(A)(iii)–

(iv). A person affected by a subpoena, whether a nonparty or party, can move to

quash or modify, or for a Rule 26(c) protective order.



10
  The Rule does allow for situations where a privilege is waived or an exception exists, FED. R.
CIV. P. 45(d)(3)(A)(iii), but there are no waivers or privilege exceptions here.
                                               8
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 9 of 19 PageID #: 1498




      Any person with a right or privilege in subpoenaed information can challenge

the subpoena. Singletary v. Sterling Transport Co., Inc., 289 F.R.D. 237, 239 (E.D.

Va. 2012), quoting U.S. v. Idema, 118 F. App’x 740, 744 (4th Cir. 2005); Thomas v.

Marina Assocs., 202 F.R.D. 433, 434 (E.D. Pa. 2001); WRIGHT & MILLER, FED.

PRACTICE & PROCEDURE § 2463.1 (3d ed. 2016). Federal courts recognize a personal

right in records “likely to contain highly personal and confidential information” like

Social Security numbers, legally confidential medical records, and family member

information. Singletary, 289 F.R.D. at 240; accord Barrington v. Mortgage ID, Inc.,

2007 WL 4370647, at *2 (S.D. Fla. 2007); Richards v. Convergys Corp., 2007 WL

474012, at *1 (D. Utah 2007); Beach v. City of Olathe, 2001 WL 1098032, at *1 (D.

Kan. 2001).

      As with all civil discovery, the scope of a subpoena is limited by

proportionality principles. FED. R. CIV. P. 26(b)(1); Virginia Dep’t of Corrs. v.

Jordan, 921 F.3d 180, 188 (4th Cir. 2019); In re Schaefer, 331 F.R.D. 603, 607–08

(W.D. Pa. 2019). Where a subpoena targets a nonparty, courts apply a “more

demanding variant of the proportionality analysis.” Jordan, 921 F.3d at 189

(collecting cases). A potential invasion of privacy—in itself grounds to quash under

Rule 45(d)(3)(A)(iii)—also affects whether a burden is “undue.” Id. (collecting

cases).

                                    C. ANALYSIS


                                          9
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 10 of 19 PageID #: 1499




      The underlying bankruptcy and litigation from which the subpoenas stem

have an unquestionably complicated procedural history. But resolution of the instant

motion turns on straightforward application of the Civil Rules and settled decisional

law. The Court must quash (or modify) the subpoenas because they foist an undue

burden onto both the Trusts and Movants. Bestwall has not come close to the

requisite showing of need necessary to outweigh the grave confidentiality concerns

inherent in the subpoenas.

   1. A Disproportionately Undue Burden: Bestwall Needs Only a Small
      Percentage of Matching Claimant Information, yet it Seeks a Sweeping
      Amount of Confidential Information.

      Federal law categorically recognizes that a subpoena that subjects “a person”

to undue burden “must” be quashed or modified. FED. R. CIV. P. 45(d)(3)(A)(iv).

Independently, a subpoena that requires disclosure of “protected matter” like social

security numbers, full name, family information, and dates of birth “must” be

quashed or modified. Fed. R. Civ. P. 45(d)(3)(A)(iii).

      Rule 45 works in tandem with Rule 26’s proportionality requirement, and the

substantive bases for denying discovery are similar. Mannington Mills, Inc. v.

Armstrong World Indus., Inc., 203 F.R.D. 525, 529 (D. Del. 2002). A court balancing

undue hardship against the need for requested information may consider the

relevance of the materials, the requesting party’s need for the information, the

confidentiality of the information sought, the breadth of the request, the recipient’s


                                         10
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 11 of 19 PageID #: 1500




nonparty status, and the burden imposed. Id.; In re Schaefer, 331 F.R.D. 603, 608–

09 (W.D. Pa. 2019).

      Even if the information sought is relevant, discovery is not allowed where no

need is shown, or where compliance is unduly burdensome, or where the potential

harm caused by production outweighs the benefit. Id., citing Micro Motion Inc. v.

Kane Steel Co., Inc., 894 F.2d 1318, 1323 (Fed. Cir. 1990). The burdens of a

subpoena are not only financial; for example, “a subpoena may impose a burden by

invading privacy or confidentiality interests.” Jordan, 921 F.3d at 189; see also In

re Schaefer, 331 F.R.D. at 609 (undue burden and the requesting party’s need for

information are issues that can dovetail).

      Here, Bestwall has failed to show that the sweep of confidential information

sought is proportional to its purported needs.

             a. Too Loose a Fit: Bestwall’s “Need” for the Data does not Comport
                with its Legal Theories. Only a Small Percentage of the
                Confidential Information Sought is Relevant, and it is Bestwall’s
                Unmet Burden to Identify that Percentage.

      Bestwall claims to need a vast amount of information showing “alternative

exposures,” i.e., claimants’ exposures to asbestos for which Georgia-Pacific was not

responsible. See In re Bestwall LLC, No. 17-31795, Bankr. W.D.N.C., D.I. 1237, 8–

10. Under Bestwall’s new theory-of-the-case, it overpaid in the tort system because

the withholding of alternative exposure evidence infected its assessment of case

values.
                                             11
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 12 of 19 PageID #: 1501




        But Bestwall’s position has a fatal flaw: in the majority of its cases, there

could be no withholding of alternative exposure evidence because Georgia-Pacific

failed to solicit any exposure evidence at all. Bestwall’s bankruptcy expert has sworn

that in approximately 70% of post-2010 mesothelioma cases, Bestwall settled via

agreements “based [on a] matrix” or via lump sum deals “without examining

individual claims.” (Ex. C, Dec. of Charles E. Bates, Ph.D., in Support of the

Debtor’s Rule 2004 Motions ¶ 17 (emphasis added).) Because Georgia-Pacific’s

group settlements were confidential, the Movants cannot identify a specific

proportion of claimants who settled under administrative deals, much less identify

individual Trust claimants who resolved their Georgia-Pacific tort claims via the

evidence-free matrices agreed to by Georgia-Pacific.

       Bestwall, on the other hand, knows precisely which claimants resolved their

tort claims via administrative deal. It therefore knows the contrapositive: which

claimants had tort cases in which Georgia-Pacific weighed (or may have weighed)

exposure evidence as part of its case valuation. In other words, Bestwall admits it

has no need for the large, scattershot amount of subpoenaed confidential

information, but refuses to define the Matching Claimant data it actually needs. 11


11
   In addition to the indisputable fact that Georgia-Pacific chose never to inquire about Trust
information in 70% of the cases against it, it is equally indisputable that in many cases Georgia-
Pacific did litigate, plaintiffs disclosed trust claim information voluntarily (pursuant to local orders
and/or in response to discovery requests). Bestwall cannot demonstrate a need for the Trust to
produce information that was already produced to Georgia-Pacific and its lawyers. Bestwall’s
subpoena fails to distinguish between cases where it received Trust information in the tort system
                                                  12
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 13 of 19 PageID #: 1502




       The Trusts were not created as an information clearinghouse for potential

bankruptcy petitioners. It is up to Bestwall, as the party seeking confidential and

settlement-related information, to make a well-tailored, particularized showing of

relevance before that information is produced. See Ford Motor Co., 257 F.R.D. at

423 (parties seeking to discover settlement communications must make a

“heightened, more particularized showing of relevance”); Mannington Mills, Inc.,

206 F.R.D. at 529 (confidentiality concerns must be balanced against relevance and

need under the interrelated Rule 26 / Rule 45 analysis).

       Without revealing specific information uniquely in its control—the claimant

cases for which it depended on asbestos-exposure information—Bestwall falls far

short of the heightened showing of relevance and need required to command

production of confidential information. The Court should QUASH the subpoenas.

               b. Heavy Confidentiality Concerns: Data Security, a Chilling Effect
                  on Settlements, and Georgia-Pacific’s Unique Untrustworthiness

       The Trusts’ motion to quash (D.I. 1), which the instant Movants join, recounts

many of the data security concerns inherent in Bestwall’s scheme. In addition to the

obvious risk of allowing centralization of personal information (by a third party with


and those cases where, for whatever reason, it did not. Rather than review its own files, Bestwall
wants the Trust to assemble and organize information in the Trust’s possession so that Bestwall
does not have to go through its own files to do the same thing. To meet its burden of demonstrating
need, Bestwall should have to certify for each individual case that it has reviewed its own case file
and that it does not have the Trust information subpoenaed.


                                                 13
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 14 of 19 PageID #: 1503




a limited duty to protect it), the Court should weigh the unique character of both the

Trust claimants and Bestwall.

      As to the Trust claimants, they are the target demographic for identity theft

plots. Because of the latency period of asbestos disease, the claimant group largely

comprises widow and widower senior citizens. According to the Department of

Justice, seniors are “some of our nation’s most vulnerable citizens.” See U.S. DEP’T

OF JUSTICE,   “Elder Justice Initiative (EJI),” https://www.justice.gov/elderjustice.

The Justice Department takes scams against seniors so seriously it has created a

“Transnational Elder Fraud Strike Force,” which works to warn seniors of the

myriad data dangers they face. See U.S. Dep’t of Justice, “Senior Scam Alert,”

https://www.justice.gov/elderjustice/senior-scam-alert. In this era of runaway

identity theft and data protection dangers—the Russian intelligence penetration of

government and businesses via SolarWinds, the Colonial Pipeline hack, the Equifax

data breach, etc.—forced disclosure and aggregation of thousands of seniors’

respective Social Security numbers, names, and birthdays will create a juicy target

for malevolent actors.

      The Trust claimants have other valid reasons for keeping their information

private. Not every asbestos victim is blessed with saintly family members or

benevolent neighbors. Keeping an influx of money private is a choice that should be

left to each claimant, not to Bestwall. That is one reason the court-approved TDPs


                                         14
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 15 of 19 PageID #: 1504




require that submissions to each Trust be treated as confidential settlement

communications. Permitting a third party like Bestwall to sift through such

settlement communications will have a chilling effect on other settlements, 12 to the

detriment of the policies served by the Rules of Evidence, see Rule 408, and the

bankruptcy system itself, see In re Flintkote Co., 486 B.R. at 132–33. See also Ford

Motor Co. v. Edgewood Properties, Inc., 257 F.R.D. 418, 423 (D.N.J. 2009)

(recognizing that although the Third Circuit does not recognize a “settlement

privilege,” parties seeking to discover settlement communications must make a

“heightened, more particularized showing of relevance”).

       Georgia-Pacific, on the other hand, has a track record of abusing the shield of

confidentiality for nefarious purposes. In In re New York City Asbestos Litigation,

Georgia-Pacific lost the shield of attorney-client privilege because undisclosed

communications between its lawyers and its paid-for scientists “could have been in

furtherance of a fraud.” In re New York City Asbestos Lit., 966 N.Y.S. 2d 420, 423

(N.Y. App. Div. 2013). The court found it was “of concern that GP’s in-house

counsel would be so intimately involved in supposedly objective scientific studies,

especially in light of GP’s disclosures denying such participation,” and approved in

camera review under the crime-fraud exception. Id.


12
  Of course, permitting Georgia-Pacific to dredge up evidence from old cases also threatens the
idea of finality: that asbestos victims and their families can move on with their lives once they
have resolved their claims and lawsuits.
                                               15
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 16 of 19 PageID #: 1505




      In light of the heavy concerns inherent in the confidential information it seeks,

Bestwall’s new litigation strategy deserves the same skepticism as its doubt-science

efforts. The subpoenas inadequately protect claimant information from misuse, and

there are scant penalties against Bestwall (or its agents) for dissemination. The

claimants should not be commanded to entrust confidential information to a party

found to have possibly furthered a fraud in concert with its lawyers. That is

especially true here, where Bestwall seeks a sweepingly broad information dump

unmoored from a tailored showing of relevance.

   2. Bestwall’s Subpoenas Seek Information that was Always Available to
      Georgia-Pacific in the Tort System. Failure to Pursue Alternative
      Asbestos Exposures Then Cannot Justify a Fishing Expedition Now.

      To justify a subpoena, a requesting party “should be able to explain why it

cannot obtain the same information, or comparable information that would also

satisfy its needs” from another source. Jordan, 921 F.3d at 189. The burden of

quashing/modifying a subpoena is “not terribly difficult” to meet “if the requesting

party cannot articulate its need for the information and address obvious alternative

sources.” Id. at 189 n.2.

      There is an “obvious alternative source” of subpoenaed information that has

always been available to Bestwall: discovery in the tort system. Only Bestwall and

its counsel know how many lawsuits it settled without cross-examining the

plaintiff/claimant or conducting discovery. See In re Nat’l Hockey League, 2017 WL


                                          16
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 17 of 19 PageID #: 1506




1493671, *8 (D. Minn. 2017) (rejecting a party’s asserted “need” for subpoenaed

information and where experts already had access to sufficient data to formulate

counter opinions). Its settlement history and reliance on exposure information are

critical facts, known only to Bestwall, which undercut both Bestwall’s theory of

fraud and its overbroad subpoenas. If Georgia-Pacific chose not to solicit exposure

information in the past, Bestwall should not be entitled to a fishing expedition now.

      Georgia-Pacific, its adjusters, and its counsel were highly sophisticated parties

in the tort system. The fact they chose to resolve the majority of their cases without

a complete evidentiary picture fatally undercuts their broad subpoenas now. The

challenged subpoenas present an on-its-face undue burden on the Trusts and

Matching Claimants, since the burden could and should have been borne by Georgia-

Pacific. The Court should quash the Trust subpoenas.

   3. If the Court will not Quash, Bestwall Must Provide a Particularized
      Factual Predicate: the Court Should Order Bestwall to Identify Which
      Claimants’ Cases Resolved After Georgia-Pacific Assessed Alternate
      Asbestos Exposure.

      A requesting party should tailor a subpoena to its needs before serving it.

Jordan, 921 F.3d at 190. In the absence of quashing, a protective order (or subpoena

modification) can be an appropriate remedy for minimizing the release of

confidential information. First Sealord Sur. v. Durkin & Devries Ins. Agency, 918

F. Supp. 2d 362, 383–84 (E.D. Pa. 2013).



                                          17
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 18 of 19 PageID #: 1507




      Bestwall has not even attempted to tailor the subpoenas by using available

methods: collating data from its defense files and from local counsel who worked up

cases or approved administrative deals. Should the Court decide that quashing the

Trust subpoenas is too broad a remedy, it should alternatively order Bestwall to [1]

limit its subpoenas to Trust claimants who settled their Georgia-Pacific cases

without an administrative deal or group settlement, and [2] identify the case-specific

discovery inquiries (e.g. interrogatories, cross-examination questions) to which

alternative exposure facts are responsive. Only then will the fit between relevance

and Matching Claimant confidentiality be proportional.

                                  D. CONCLUSION

      Bestwall’s predecessor settled the vast majority of its historical lawsuits

without seeking any information about bankruptcy trust claims. In an effort to undo

its own settlements, Bestwall now seeks highly confidential information. Under Rule

45, the Court must quash the Trust subpoenas for either of two reasons [1] the undue

burden exposed by Bestwall/Georgia-Pacific’s history of evidence-free group

settlements, and [2] the heavy confidentiality interests in Matching Claimants’

personal information. The failure to show a particularized need for the vast majority

of the Matching Claimants’ private data creates an undue, disproportionate burden

on the Trusts and the Matching Claimants.




                                         18
Case 1:21-mc-00141-CFC Document 20 Filed 05/24/21 Page 19 of 19 PageID #: 1508




      Even if the Court declines to quash the subpoena in toto, the information

pertaining to any Matching Claimant who settled his/her Georgia-Pacific lawsuit via

an administrative agreement must not be subject to the subpoenas. The Court should

alternatively order Bestwall to [1] provide a specific list of Matching Claimants

whose lawsuits against Georgia-Pacific were settled after Georgia-Pacific solicited

information about alternative asbestos exposures, and [2] identify the specific

discovery request to which alternative exposure evidence was responsive.

Regardless, if the Court permits production of any personal information, it should

require anonymization of the Matching Claimants’ personal identifying information

(names, SSNs, d/o/b) by either the Trusts or an independent third party before

delivery to Bestwall and its agents.

Dated:       May 24, 2021              Hogan♦McDaniel

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                                        19
